         Case 7:19-cv-00403-RDP Document 65 Filed 09/16/21 Page 1 of 3                                   FILED
                                                                                                2021 Sep-16 PM 08:42
                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                 WESTERN DIVISION

ADAM JONES and                                   )
JOSHUA HASTINGS,                                 )
                                                 )
       Plaintiffs,                               )
                                                 )
v.                                               ) Civil Action No. 7:19-CV-00403-RDP
                                                 )
BUZZFEED, INC., BUZZFEED NEWS,                   )
BEN SMITH, and KATIE J.M. BAKER,                 )
                                                 )
       Defendants.                               )
                                                 )

                          MOTION FOR SUMMARY JUDGMENT

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure, defendants BuzzFeed, Inc.,

Ben Smith and Katie J.M. Baker (collectively, “Defendants”), hereby move for summary

judgment. Summary judgment and dismissal of the defamation claims filed by plaintiffs Adam

Jones and Joshua Hastings (“Plaintiffs”) is warranted because the undisputed facts establish that

(i) the Defendants’ statements are privileged under Alabama’s statutory fair report privilege, Ala.

Code § 13A-11-161, (ii) Plaintiffs cannot meet their burden of proving that any of the statements

in suit are materially false, (iii) certain statements are expressions of opinion that enjoy absolute

protection under the First Amendment to the U.S. Constitution and (iv) Plaintiffs cannot

establish that any of the statements were published with actual malice, as they are required to do

under N.Y. Times Co. v. Sullivan, 376 U.S. 254, 275 (1964) et seq.

       In support of this motion, Defendants submit their Memorandum of Law in Support of

their Motion for Summary Judgment (including a Statement of Undisputed Material Facts and

Discussion of Relevant Legal Authorities), Appendix A thereto and Evidentiary Submissions in
         Case 7:19-cv-00403-RDP Document 65 Filed 09/16/21 Page 2 of 3




Support of Motion for Summary Judgment (Docs.63-1 through 63-77, 64-1 through 64-5), all

filed on the docket herewith.


                                        Respectfully submitted,

                                        /s/ John G. Thompson
                                        One of the Attorneys for Defendants

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                                           2
         Case 7:19-cv-00403-RDP Document 65 Filed 09/16/21 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing was electronically filed on this the
16th dayof September, 2021, using the CM/ECF system which will send notification to the
following. Should the Notice of Electronic Filing indicate that notice needs to be delivered by
other means to any of the following, I certify that a copy will be sent via U.S. Mail, postage
prepaid and properly addressed.

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